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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF KENTUCKY
                                 LONDON DIVISION

                                       Electronically Filed


DAVID WILSON, as Administrator                      )
of the Estate of Lisa Noble,                        )
Deceased,                                           )
               Plaintiff                            )
                                                    )         Civil Action No. 6:17-157-KKC
v.                                                  )
                                                    )
BEACON TRANSPORT, LLC,                              )
and TERRAN COOPER,                                  )
          Defendants                                )


                NOTICE OF PLAINTIFF’S ISSUANCE OF SUBPOENAS
               FOR DEPOSITIONS AND PRODUCTION OF DOCUMENTS


       The Plaintiff, by counsel, gives notice to the Court that on this day he issued the subpoenas

filed herewith for service today, along with the witness fees and travel payment checks, upon the

following persons:

       1. Toby Curry (for appearance and production of documents);

       2. Michael D. Anderson (for appearance);

       3. Tammy Saylor (for appearance); and

       4. Selena Moore (for appearance).

                                             Timothy D. Lange
                                             BENSON, RISCH & LANGE, PLLC
                                             401 W. Main Street, Suite 2150
                                             Louisville, Kentucky 40202
                                             Telephone: (502) 583-8373

                                             D. Randall Jewell
                                             JEWELL LAW OFFICE, PLLC
                                             P.O. Drawer 670
                                             Barbourville, Kentucky 40906
                                             Telephone: (606) 546-9714

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                                               Billy J. Taylor
                                               TAYLOR LAW OFFICE, PLLC
                                               110 Knox Street, Suite A
                                               Barbourville, Kentucky 40906
                                               Telephone: (606) 545-0224

                                               By: /s/D. Randall Jewell __________
                                                  ATTORNEYS FOR PLAINTIFF




                                  CERTIFICATE OF SERVICE

       On January 30, 2018, I electronically filed this document through the ECF system, which

will send a notice of electronic filing to counsel of record.

       And I mailed this document and attachment to:


               Harlan E. Judd, III
               Harlan E. Judd & Associates
               P.O. Box 51093
               Bowling Green, Kentucky 42102


                                               By: s/D. Randall Jewell___________
                                                  ATTORNEYS FOR PLAINTIFF




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